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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

UNITED STATES OF AMERICA

vs.                                                          Case No. 2:24-CR-00088

JEFFREY RADTKE


                   MOTION TO MODIFY CONDITIONS OF RELEASE


       Defendant Jeffrey Radtke hereby moves the Court for a modification of the conditions of

release ordered by the Court on September 24, 2024 due to a material change in his living

circumstances. Currently, he is subject to the condition that he have “No unsupervised contact

with domestic animals. Defendant can have his own cats, in his own home with his significant

other.” Since this order was made, Mr. Radtke’s significant other has accepted a teaching

position in Fargo, North Dakota and will only live in the home with Mr. Radtke on weekends

and when school is not in session, placing Mr. Radtke at risk of violating the Court’s order if he

were to remain in the home without her.

       As such, Defendant Radtke is requesting the condition of release be modified to allow

him to have unsupervised contact with his own cats, in his own home, without requiring his

significant other’s presence or for her to live there full time. The Government has been made

aware of this request and has no objection.



Signed this 25th Day of October, 2024
                                                             /s/ Christa J. Groshek
                                                             Christa J. Groshek, Esq.
                                                             Groshek Law
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                                 CERTIFICATE OF SERVICE

I certify that on this 25th day of October 2024, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will send a notification to all counsel of record.


                                                            \s\
                                                     Trey R. Kelleter, Esq.




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